Case 7:19-cv-00275-MFU Document 38 Filed 08/02/19 Page 1 of 1 Pageid#: 1023

                                                                              CLERKSOFFICEU,S.DI
                                                                                               ST.K U6'
                                                                                        AT ROANOKE,VA
                                                                                             FILED

                  IN TH E UNITED STATES DISTRICT CO URT                                 AIJC C 2 2219
                 FOR TH E W ESTERN DISTRICT OF W RGINIA                            JUL C DUDLEY CLERK
                            R O A N O K E D IW SIO N                              BY:
                                                                                          P

              IN R E : N ationalPrescription O piate Litigatiom M DL No.2804

A lleghany C ounty,V irginia,

                        Plaintiffts)
                                                     CivilA ction N o.7:19cv275

Purdue Pharm a L.P.,etaI.,

                         Defendantts).

                                    TR AN SFER O R DER

       The JudicialPanel on M ultidiskictLitigation entered ConditionalTransfer OrderN o.

C-
 1-0-2804ptlrsuantto28 U.S.C.j 1407 on Aùgust1,2019,transfeningtheabovelisted civil
action to theUnited StatesDistrictCourtfortheN orthern DistrictofOhio,and assigning itto the

HonorableDan A.Polster,forcoordinated orconsolidated pretrialproceedingswith like actions

previously transferred tothatdistdct.

       Pm suanttothatOrder,thiscaseishereby

                                        O R D E RE D

transferred to theUrlited StatesDistrictCourtfortheN orthern DistrictofOhio to the Honorable

Dan A.Polster.
       sxvsaso,&f- 5tv.toj#                   '


                                                               .

                                                  ,, '
                                                      */
                                                     ?r
                                                                   ,
                                                                            .                    %
                                                  Chie     nited StatesDistrictJudge
